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                             EXHIBIT A
                              PART     1
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                             EXHIBIT A
                    \\
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                                       UNITED STATES DISTRICT COURT

                               FOR THE EATERN DISTRICT OF CAIFORNIA

                               AND THE NORTHERN DISTRICT OF CALIFORNIA

                            UNITED STATES DISTRICT COURT COMPOSED OF THREE

                       PURSUAN TO SECTION 2.284, TITLE 28 UNITED STATES CODE


                     RAPH COLEMA,       et al.,              )
                                                             )
                                     Plaintiffs,          )
                                                          )
                              vs.                         )      NO.   2: 90-cv-00520 LKK JFM P
                                                          )
                     AROLD SCHWARZENEGGER,          et    )
                     å.1. ,                               )
                                                          )
                                     Defendants.          )
       '(.
                                                          )
)7
      .t~
         ,           MACIANO PLATA,       et al.,         )
                                                         -)
                                     Plaint-iffs,         )
                                                          )
                             vs.                          )
                                                          )
                    AROLD SCHWARZENEGGER,           et   )
                    al. ,
                                    Defendants. .
                                                         )
                                                         )             Cerji Cop
                                                         )




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                                    DEPOSITION OF JEANE S. WOODFORD

                                        Tuesday, December 18, 2007

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                            REPORTED BY: KRISTIE L. HUBKA, CSR NO. 5974

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   1 copy of your deposition transcript and it will have all
   2 of your answers, all of the obj ections and all of the

   3 questions. Okay?
   4         A.   Yes.
   5         Q. And you will have an opportunity to make
   6   changes to that transcript if you see fit. Do you

   7   understand that?
   8         A. Yes.
   9         Q. If you make any substantive changes, myself or
  10   any of the other attorneys can comment on it at the time

  11   of trial. Do you understand that?

  12         A. Yes.
  13         Q. And lastly you understand you i re under oath,

  14   the same oath as if you were in front of the three

  15   judges in February or whenever the trial date will be.

  16        A. Yes.
  17         Q. What is your current position?
  18        A. I'm the chief of adult probation in the City
  19   and County of San Francisco.
  20        Q. And is there an association for chief
  21   probation officers in the State of California?

  22        A.    Yes, there is.
  23        Q.    And what is that association?

  24        A.    CPOC, C-P-O-C. I'm not sure what it stands

  25 for, California Probation

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   1              MR. SPECTER: Chief Probation.
   2              THE WITNESS: Chief Probation Officers of

   3   California. Thank you.

   4              MR. MELLO: Mr. Specter, please raise your

   5   right hand and I'll swear you in.

   6         Q. Are you a member of that association?
   7         A. Yes.
   8         Q. And do you know whether that association - - or
   9   strike that.
  10              Do you know whether any members of that

  11   association have intervened in this matter?

  12         A.   Yes.
  13         Q.   Have you ever participated in any conference

  14   calls with members of that association regarding this

  15   litigation?
  16         A. I don't believe so. I mean, it's been -- the

  17   litigation has been mentioned but I don't believe that I

  18   participated in an actual calIon this topic.
  19         Q. Have you ever been a participant .iii dIlY
  20   conference calls where the law firm of Jones & Mayor,

  21   counsel for the interveners was on the line?

  22         A.   Not that I'm aware of, no.

  23         Q.   Your B.A. is in criminal justice, correct?

  24         A.   Yes, that's correct.

  25         Q.   Do you hold any degrees with respect to


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   1 2004, somewhere along there, but I'm not positive of

   2 that.
   3         Q.    And I used the term "ended." Was that lawsuit

   4 ultimately dismissed?

   5               MR. SPECTER: If you know.
   6               THE WITNESS: I don It know if that's the

   7 proper term.
   8         Q     (By Mr. Mello) Do you know -- it's your

   9 testimony that the Marin lawsuit involved both

  10 medical care and mental healthcare, correct?
  11 Yes.    A.

             Q.

             A.

             Q.

  15    of CDCR?
  16         A.    No. I was actually --
  17         Q.    Pardon me. I i m sorry. Were you the acting
  18 secretary in July of 2006?
  19         A.    No, I was not. I was the undersecretary of

  20 the California Department of Corrections and

  21 Rehabilitation.
  22         Q.    And, to your knowledge, the Marin lawsuit was

  23 no longer active at that point, correct?
  24         A.    That is correct.

  25         Q.    Do you have any experience providing medical


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  1 chief medical officers when you were the warden at

  2 San Quentin prison. Do you also believe that those

   3 individuals were M.D.s?

   4        A.    Yes.
   5        Q.    So all of these folks had medical training,

   6 correct?
   7        A.    That is correct.

   8 Q. As you testified earlier, you were the
   9 director of the Department of Corrections starting in

  10 February of 2004, correct?
  11 A. That is correct.
  12         Q.   I should know this but the Department of

  13 Corrections was not the same as the Department of --
  14 California Department of Corrections and Rehabilitation?

  15 CDCR is different from the Department of Corrections,
  16 correct?
  17         A.   Yes, that i s correct.
  18         Q.   How so?
  19         A.   Under the California Department of Corrections

  20 the primary mission of corrections was punishment. It
  21 also had a different structure where the director was

  22 very much in charge of the California Department of
  23 Corrections on the adult side. The reorganization

  24 created the California Department of Corrections and

  25 Rehabilitation making rehabilitation a primary mission

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  1 of the department and it IS now organized under the

  2 secretary of the California Department of Corrections

   3 and Rehabilitation and has a different management

  4 structure.
  5 Q. When you were the director - - strike that.
   6 When you were the warden at San Quentin prison
   7 there was a chief medical officer and a chief

   8 psychiatrist, correct?
   9 A. That is correct.
  10 Q. Was there a similar title below you when you
  11 were the director of the Department of Corrections?

  12         A.   There were similar titles, yes.

  13         Q.   Was there a statewide chief medical ófficer or

  14 chief psychiatrist?
  15 A. There was a statewide chief medical officer,
  16 yes.
  17 Q. Was there somebody in the medical structure
  18 above the statewide chief medical officer when you were

  19 the director of the Department of Corrections?

  20         A.   No, there was not.

  21         Q.   How many chief medical officers --

  22         A.   Excuse me, I need to correct that.

  23         Q.   Sure.
  24 A. At some point while I was the director, maybe
  25 a couple of months before I promoted to undersecretary,

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  1-    they did put someone in a position under the secretary

  2     to oversee healthcare for the California Department of

  3     Corrections. But I'm uncertain as to the month that

  4     that occurred.

   5         Q. Within several months of you becoming

   6    undersecretary?
   7         A. Yes, that would be correct.
   8         Q. Prior to that time how many statewide

   9    medical - - chief medical officers were there when you

  10    were director?

  11         A. I i m sorry, I don i t know the answer to that.
  12         Q. Was it more than one?
  13         A. Yes.
  14         Q. - Do you think it was more than three?

  15         A. Yes.
  16         Q. Was it more than five?
  17         A. Yes.
  18         Q. Öh, boy. Do you think it was less than ten?
  19         A. No. There is a position at each of the
  20    prisons but I don i t know that all of them were filled.

  21          Q. Okay. Just so I understand, at the time until
  22     those last few months, at the time that- you were the

  23     director of the Department of Corrections, the chief

   24    medical officers were at each facility, correct?

   25         A.   Yes.

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   1         Q.    And am I correct that there was not a medical

   2 officer above those facility chief medical officers

   3 until just a couple of months before you became

   4. undersecretary?

   5 A. No. There was a chief medical officer in
   6 Sacramento or the head of heal thcare services, I i m not
   7 sure what the titles were as we've changed titles, so

   8    it i S very difficult for me to remember what we were

   9    calling people at that point in time.

  10         Q. Let's for purposes of this discussion just
  11    refer to him as head of healthcare services.

  12         A. That's correct.
  13         Q. Okay. At the time that you were the director
  14    of the Department of Corrections how many heads of

  15    healthcare services were there?

  16         A. At what location?

  17         Q. In Sacramento.
   18        A. There was one. Until the last few months and

   19   then there was another position added at the secretary

   20   level.
   21        Q. And who was that one person?
   22        A.    The one before the position added?

   2~        Q.    Yes.
   24        A.    That would be Dr. Rene Kanan.

   25         Q.   And Dr. Kanan. Did the chief medical officers

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   1 at the institutions report to Dr. Kanan?

   2 A. Yes, they did.
   3 Q. And who did Dr. Kanan report to?
   4 A. Dr. Kanan reported to the director of
   5 corrections, that would be me during that time. And

   6 also because we were in transition she was reporting to

   7 the secretary of the agency.

   8 Q. Did she report to anybody below the - - was she
   9 a direct report to anybody below you during that time?

  10 A. She reported a direct report to the deputy
  11 director of administration.
  12 Q. How many deputy directors did you have below
  i3 you at the time Dr. Kanan was reporting to the deputy

   14 director of administration?

   15        A.    Let me restate. The title of that one was

   16 chief deputy director and I had two.
   17 Q. What was the other chief deputy?
   18        A.    Operations.
   19        Q.    And who is the chief -- strike that.

   20 How many chief deputy directors of
   21 administration did Dr. Kanan report to, to your
   22 knowledge?
   23 A. One.
   24 Q. Who was that?
   25        A.    Ernie Van Sant. But I do need to say that

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   1 recall.
   2                   Q.          Was she a physician?

   3                   A.          I don't think so.

   4 Q. When you were the director of the Department
   5 of Corrections, what, if any, role did you                               have with

   6 respect to the Plata lawsuit, generally speaking?

   7 A. Well, my role -- thatls a very complicated
   8 question. My role was to make sure that we were in

   9 compliance with the Plata lawsuit and to work with

  10 healthcare services to achieve that goal and work with
  11 other parts of the department if achieving that goal

  12 required physical plant changes or construction.
  13 It was also to make sure that the custody side
  14 of the house was working well with healthcare at their

  15 facilities and at headquarters to come into compliance

  16 with the provisions ?f the Plata lawsuit. And, I mean,

  17 that i s everything from soup to nuts, I mean, trying to
  18 attract more doctors. I was involved in discussions in

  19 just about every aspect of compliance with that lawsuit

  20 I would say.
  21 Q. Was your role with respect to the Coleman
  22 lawsuit similar when you were the director of the

  23 Department of Corrections?

  24                    A.         Yes. With the Coleman lawsuit I also worked

  25 with other state agencies to try to bring us into
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   1         A. Yes. I also need to say that there was also
   2    another person assigned to the secretary and that was

   3    Darce Keller (phonetic) and he also had a role in

   4    healthcare but I doni t exactly remember his exact title

   5    either.
   6         Q. To your knowledge, both Dr. Szekrenyi and
   7    Mr. Keller are no longer working for the department?

   8         A. That's my understanding.

   9         Q. And you left your position as undersecretary
  10    in July of 2006?

  11         A. Yes, that i s correct.
  12         Q. Why? Probably not an easy question.
  13         A. No, it i S really not an easy question. It's a
  14    pretty complicated answer.

  15         Q. Can you give it to me, anyways?
  16         A. I had actually been asked to be the secretary

  17    of the Department of Corrections and Rehabilitation and

  18    I acted in that position for about 45 or 50 days and I

  19    determined that I could not find a path to be successful

  20    given the conditions of the Department of Corrections

  21    including our overcrowding and the unwillingness, or if

  22    that i s the right word, of the State of California to
  23'   look at what I thought were resolutions to the problem.

   24              I felt that we could not build our way out of

   25   the problem, that we really needed to take a very


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   1 realistic approach and I also felt that what we were

   2 doing in the Department of Corrections was not enhancing

   3 public safety.
   4 In fact, our policies or the state i s criminal
   5 justice system was actually harming public safety and I

   6 felt under the overcrowding conditions that we had that

   7 we weren't providing a constitutional level of care for

   8 inmates to include every aspect of living inside a

   9 prison, getting healthcare and mental healthcare.

  10 Q. Can you tell me what the components are of a
  11 constitutionally adequate medical care system?

  12         A.    I'm not sure that I can answer that question.

  13         Q.   Why not?

  14         A.    11m not sure what you mean by "components."

  15 Q. I believe you testified that you didn't
  16 believe - - one of the reasons that you didn't accept the
  17 secretary position and you left CDCR is because you did

  18 not believe that the department and the state could

  19 provide constitutionally adequate medical and mental

   20 healthcare. I believe that was your testimony; is that
   21 accurate?
   22        A.    That is accurate.

   23 Q. My question to you is what are the components
   24 or necessary parts of a constitutionally adequate
   25 medical or mental health system?

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    1 A. Well, I don i t know that I can answer that in
   2 technical terms. But I can tell you having been

   3 involved with the Department of Corrections for 27 years

   4 and the variety of litigation cases that I have been

    5 invol ved in and the standards that have been set by the

    6 courts as to number of hours inmates need to be out of

    7 their cell or be in yards .or be involved in mental

    8 health treatment or receive recreational activity or

    9 double celling, all of that litigation has led me to
  10 have an understanding of what the courts believe is a
  11 constitutional level of treatment of incarcerated
  12 individuals.
  13 And then becoming the director and going
  14 around the state and seeing some of the prisons and the

  15 conditions and the overcrowding and our inability to
  16 meet the ten hours of yard time, for example, that i s
  17 involved under the Toussaint, T-o-u-s-s-a-i-n-t, case or
  18 the fact that we weren i t giving inmates who were in the

  19 EOP level of care for Coleman or CCCMS level of care to

  20 the number of hours of group therapy or group counseling

  21 or whatever the requirements were. We weren i t meeting

  22 those standards.
  23 After               seeing all of that, I knew that we were

  24 in big, big trouble and it was just a matter of time

  25 before we would be facing all those similar lawsuits all

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   1    could arrive at a reduced population in the Department

   2    of Corrections.

   3               Q. In your opinion, how many inmates would need

   4    to be released in order for - - strike that.
   5                          In your opinion, how much would the CDCR's

   6    population have to be decreased in order to provide

   7    constitutionally adequate healthcare and ment.al

   8    healthcare?
   9               A. I don't know that I can state a number, it

  10    really is identifying the - - a number that resources

  11    allow you to accommodate              and treat.

  12               Q. If the inmate population - - strike that.

  13                           Do you know the current population in CDCR IS

  14    adult institutions?
  15               A.          The exact number I do not know.

  16               Q.          Generally?
  l7               A. I believe it i S at about 173,000.

  18               Q. If the adult population in California
   19   institutions was decreased by 40,000 inmates tomorrow

   20   and nothing else was done do you believe that the CDCR

   21   would be providing constitutionally adequate medical or

   22   mental heal thcare to its inmates?

   23              A.          with your scenario, nothing else was done,

   24 meaning you didn i t hire doctors, you didn i t do all of
   25 those other things, no, I don't think you would get

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   1         Q. The first time you saw the writing, the words,

   2    which ultimately was your report was by way of the

   3    internet?
   4         A. I accessed it using the internet, yes.

   5         Q. And just so I i m clear, you didn i tactually
   6    type up the first draft of your expert report, correct?

   7         A. No, I did not.
   8         Q. That i s correct?
   9         A. That's correct.
  10         Q.     And the first draft of your report was

  11 available via the internet, correct?
  12         A. Via a program utilizing the internet.                           .



  13         Q". And I believe - - did you provide any
  14    handwritten notes or writings to the Prison Law Office

  15    or to any of the plaintiffs i counsel prior to the

   16 drafting of your first report?
   17 A. Oh, yes, actually I did provide some typed
   18 notes, that i s correct. I recall that now.
   19 Q. Did you produce those typed notes that you
   20 provided to the Prison Law Office today?

   21        A.     Yes.
   22               MR. MELLO: I have in front of me five pages

   23 of typed up notes and the title on the first page is
   24 Conversations with the Governor. I i m going to ask that
   25 this portion of the documents that you produced today be

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   1           A.   Not that I plan to review. I read constantly,

   2   though.
   3           Q. How did you determine what documents to review

   4   prior to developing your opinion or opinions in this

   5   case?
   6           A. How did I determine that? Well, some of the

   7   facts that I used were known to me to be in documents

   8   like the Blue Ribbon Commission. What else did I do?

   9   Things that I had read. And others were shown to me by

  10   Mr. Specter.
  11           Q.   Okay. Do you recall what documents were shown

  12 to you by Mr. Specter?

  13 A. There is a list.
  14 (Whereupon counsel confers with the witness.)
  15 MR. MELLO: Mr. Specter is badgering the
  16 witness.
  17 MR. SPECTER: Let the record reflect
  18 Mr. Specter is helping Mr. Mello.
  19 THE WITNESS: The Prison Overcrowding State of
  20 Emergency Proclamation by the Governor. I was aware of

  21 it but he actually showed me the proclamation. The

  22 Inspector General i s report. I was aware of it but he
  23 actually showed me the report. The Little Hoover

  24    Commission, I i m not sure if I had this one or not. I

  25 have most of the Little Hoover Commission reports so I

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   1 believe I had that one. Toussaint came from

   2 Mr. Specter. The Fall Adult Population Projections came

   3 from Mr. Specter. The Special Review of In-Prison

   4 Substance Abuse, I was aware of it but Mr. Specter gave

   5 me a copy of it. I already had and had read A Roadmap

   6 for Effective Offender Programming in California. He

   7 may have also showed me a copy of that but I already had

    8 that.
    9         Q    (By Mr. Mello) Okay. Other than those

   10    items that you've just listed and/or which are

   11    reflected in paragraph four of your report, did

   12    Mr. Specter show you any other documents that you

   13    based your opinion or opinions ón in this case?

   14         A. There was one other document that I recall and

   15    that was the Inspector General's review of the Scott

   16    Thomas case.
   1.7             MR. SPECTER: No, that t s this case.
   18              THE WITNESS: Oh, is it? Okay. No.

   19         Q (By Mr. Mello) So these items are all of
   20    the items that Mr. Specter showed you?

   21         A. I believe so, yes.
   22         Q. " In preparing your report did you read any of

   23    the receiver's reports or his May 10, 2007, Plan of

   24    Action?
   25         A.   No, I did not.
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   1         Q.   Why   not?
   2         A.   i don't know.

   3 Q. Did you think that being familiar with the
   4 current plan relating to the delivery of medical care in

   5 California's prisons was important in forming your

   6 opinions in this case?

   7 A. Not really.
   8 Q. Why not?
   9 A. I think just based on my years with the
  10 Department of Corrections and the variety of plans that
  11 I had seen over and over again and understanding the

  12 population, the kinds of inmates we received, and for

  13 how long we received them for, and the very complicated
  14 criminal justice policies of the state have led me to

  15 where I am in my beliefs and it from where I sit, the

  16 overcrowding conditions and the
   17 MR. SPECTER: He just asked you about -- oh,
   18 I i m sorry. I didn't want to interrupt your answer.

   19 Just answer about why you didn't.

   20 Q (By Mr. Mello) Do you have anything else
   21 to add before Mr. Specter interrupted you?

   22        A.    Led me to where I - - to my position on this.

   23        Q.    So you have no idea what the receiver's

   24 reports say, correct?
   25        A.    I followed some of the information in the


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   1 newspapers so I have some idea, I guess.

   2 Q. Based upon your experience with the Department
   3 of Corrections and Rehabilitation and with the

   4 Department of Corrections before that, were you aware

   5 that the Prison Law Office would conduct tours of

   6 institutions as part of the Plata remedial process?

   7         A.   Yes.
   8         Q.   And based upon your experience do you

   9    understand that the Prison Law Office does reports or

  10    what I call them post-tour letters after their

  11    inspections of various institutions?
  12         A. Yes.
  13         Q. Did you review any of those post-tour letters
  14    prior to developing your opinions on this case?

  15         A. Well, I've seen them when I was the director

  16    but not in preparing my response to this, no.

  17         Q. Have you seen any post-tour letters since you
   18   left the department in the middle of 2006?

   19        A. No, I have not.
   20        Q. Have you visited any CDCR facilities since the

   21   middle of 2006?

   22        A. I don i t believe so. I went to San Quentin but

   23   I believe that was right before I stepped down, I don It

   24   think it was after.

   25        Q.    So you did not visit any prisons recently in


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